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UNITED STATES DISTRICT CoURT "“ 33 iiP/T','"~'ICE
DISTRICT oF MASSACHUSETTS

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UNITED STATES oF AMERICA ) Criminal 3 " --`.;; r,,!r`,` _
) l C" )OD f'€f{;?a-“ fn
v. ) Viclations: " "'~'138_
)
MICHAEL SEXTON, ) Counts One _ Four: 21 U.S.C. §84](21)(1)
Dei"endant. ) Distribution of a Controllcd SubStance
)
) Drug Forfeiture
) 21 U.S.C. § 853
INFORMATION

COUNT ONE: 21 U.S.C. §841(21)(1) 4 Distribution of a Controllcd Substance
The Unitcd States Attorncy charges that:
On or about Junc 29, 2017, in the District of Massachusetts,
MICHAEL SEXTON,
defendant herein, did knowingly and intentionally distribute cocaine base, a Schedule ll

controlled substance

All in violation of Title 21, Unitcd Statcs Code, Section 841 (a)(l).

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COUNT TWO: 21 U.S.C. §841(a)(1) - Distribution of a Controlled Substance
The United States Attorney further charges that:
On or about August 10, 2017 , in the District of Massachusetts,
MICHAEL SEXTON,
defendant herein, did knowingly and intentionally distribute cocaine base, a Schedule II
controlled substance

All in violation of Title 21 , United States Code, Section 841(a)(1).

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COUNT THREE: 21 U.S.C. §841(a)(1) - Distribution of a Controlled Substance
The United States Attorney further charges that:
On or about September 5, 2017, in the District of Massachusetts,
MICHAEL SEXTON,
defendant herein, did knowingly and intentionally distribute cocaine base, a Schedule II
controlled substance

All in violation of Title 21 , United States Code, Section 841(3.)(1).

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COUNT FOUR: 21 U.S.C. §841(a)(1) - Distribution of a Controlled Substance
The United States Attorney further charges that:
On or about September 27, 2017, in the District of Massachusetts,
MICHAEL SEXTON,
defendant herein, did knowingly and intentionally distribute cocaine base, a Schedule II
controlled substance

All in violation of Title 21, United States Code, Section 841(a)(1).

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DRUG FoRFEITURE ALLEGATION
(21 U.s.c. § 853)

Upon conviction of distribution of a controlled substance in violation of Title 21, United
States Code, Section 84l(a), set forth in Counts One through Four of this Information,
MICHAEL SEXTON,
defendant herein, shall forfeit to the United States, pursuant to Title 21, United States Code,
Section 853, any property constituting, or derived from, any proceeds obtained, directly or
indirectly, as a result of such offenses; and any property used, or intended to be used, in any
manner or part, to commit, or to facilitate the commission of, such offenses.
It` any of the property described above, as being forfeitable pursuant to Title 21 , United
States Code, Section 853, as a result of any act or omission of the defendant --
(a) cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with, a third party;
(c) has been placed beyond the jurisdiction of the Court;
(d) has been substantially diminished in value; or

(e) has been commingled With other property which cannot be divided without
difficulty;

it is the intention of the United States, pursuant to Title 21, United States Code, Section 853(p),
to seek forfeiture of any other property of the defendant up to the value of the property described
above.

All pursuant to Title 21, United States Code, Section 853.

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February 28, 2018

Respectfully Submitted,

ANDREW E. LELLING
United States Attorney

Nicholas Soivillen
Assistant U.S. Attorney

